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                                                           13     20 Pr12: 17
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 4                                                                          DEPUTY

 5                        UNITED STATES DISTRICT COURT
 6
                         SOUTHERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,               Case No.: 13CR3445-DMS
 8
                  Plaintiff,
 9                                           ORDER AND JUDGMENT TO DISMISS TH
           v.                                INDICTMENT
10
     AMENDA SANCHEZ-VILLAFANA (2),
11
                  Defendant.
12

13

14
           Upon motion of the UNITED STATES OF AMERICA, and good cause
15
     appearing,
16
           IT IS HEREBY ORDERED that the Indictment in Case No.
17
     13CR3445-DMS against defendant AMENDA SANCHEZ-VILLAFANA (2), be
18

19   dismissed without prejudice.

20         IT IS SO ORDERED.

21
           DATED:    December 20, 2013
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